                             Case 1:23-cr-00047-MHC-JEM Document 11 Filed 02/07/23 Page 1 of 1
U.S. Department of Justice
United States Attorney




                                                                                                                 PLED IN OPEN COURT
                                       IN THE UNITED STATES DISTRICT COURT                                         U.S.D.C. - Atlanta
                                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                                                                                                    FEB -72023
                                                                 Division: Atlanta
                                                                 (USAO: 2023R00012)                            KEVIN p     IMER, Clerk
                                                                                                                 By •        Lk. c
                                   DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION

COUNTY NAME:                  Fulton                                    DISTRICT COURT NO. 1     I 2 3 C R 0 0 4?
                                                                        MAGISTRATE CASE NO.      1:23-MJ-027

X Indictment                                       Information                        X Magistrate's Complaint
DATE: February 7,2023                              DATE:                              DATE: January 6,2023

                               UNITED STATES OF AMERICA                 SUPERSEDING INDICTMENT
                                          VS.                           Prior Case Number:
                              KRISTOPHER KNEUBUHLER                     Date Filed:

GREATER OFFENSE CHARGED: X Felony Misdemeanor

                                             Defendant Information:
Is the defendant in custody? Yes X No
Will the defendant be arrested pending outcome of this proceeding? X Yes No
Is the defendant a fugitive? Yes X No
Has the defendant been released on bond? X Yes No
Defendant is released on bond from: Northern District of Georgia on January 12, 2023
Will the defendant require an interpreter? Yes X No




District Judge:
Magistrate Judge:


Attorney: Theodore S. Hertzberg
Defense Attorney: Steven Paul Berne
